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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  VIRAL STYLE, LLC,

             Plaintiff,
 v.                                             Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

             Defendants.
                                       /

                                EXHIBIT B

                                    TO

                               COMPLAINT
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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,

          PLAINTIFF,
                                                               CASE NO.: 1:20-CV-05251
V.

THE PARTNERSHIPS AND UNINCORPORATED
                                                               FILED UNDER SEAL
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

          DEFENDANTS.


                                         AMENDED COMPLAINT

            Plaintiff, Iron Maiden Holdings, Ltd. (“Iron Maiden” or “Plaintiff”), by its undersigned

     counsel, hereby complains of the Partnerships and Unincorporated Associations identified on

     Schedule “A” attached hereto (collectively, “Defendants”), and for its Complaint hereby alleges as

     follows:

                                              INTRODUCTION

            1.      This action has been filed to combat the online trademark and copyright infringement

     and counterfeiting of Defendants, who trade upon Plaintiff’s valuable trademarks and copyrights by

     selling and/or offering for sale unauthorized, unauthentic, and counterfeit products in connection with

     Plaintiff’s federally registered trademarks, as well as to stop and prevent Defendants’ selling of

     unauthorized products that use, are based on, and/or are derived from copyrighted subject matter

     created by Iron Maiden (hereinafter referred to as “Counterfeit Iron Maiden Products” or the

     “Counterfeit Products”).

            2.      Plaintiff, Iron Maiden Holdings, Ltd., is the owner of the federally registered United

     States Trademark Registration Nos. 4,848,431; 3,840,031; 1,308,370; 1,307,146; and, 1,306,972

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(collectively referred to as the “Iron Maiden Trademarks”). The Registrations are valid, subsisting,

and in full force and effect. True and correct copies of the Registrations are attached hereto as Exhibit

1. Plaintiff is the owner of various U.S. Copyright Registrations, which have effective registration dates

as early as 1980, and are attached hereto as Exhibit 2 (hereinafter referred to as “Iron Maiden

Copyrights”).

        3.      In an effort to illegally and deceptively profit from the Iron Maiden Trademarks and

Iron Maiden Copyrights, Defendants created numerous e-commerce stores and online marketplace

accounts (collectively referred to as “Defendant Internet Stores” or “Seller Aliases”), intentionally

designed in look, feeling, and suggestion to give the impression to consumers that they are legitimate

websites selling products authorized by Iron Maiden (hereinafter referred to as “Iron Maiden

Products”), with Defendants’ ultimate intention being to deceive unknowing consumers into

purchasing Counterfeit Iron Maiden Products.

        4.      Defendant Internet Stores share numerous unique identifiers, such as design elements

and similarities of the unauthorized products offered for sale, establishing a logical relationship

between Defendants, and suggesting that Defendants’ illegal operations arise out of the same

transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability

by going to great lengths to conceal both their identities and the full scope and interworking of their

illegal operation.

        5.      Plaintiff is forced to file this action to combat Defendants’ ongoing infringement of

Plaintiff’s Iron Maiden Trademarks and Iron Maiden Copyrights (collectively referred to as “Iron

Maiden Intellectual Property” or “Iron Maiden IP”). Plaintiff has been and continues to be irreparably

damaged through consumer confusion, dilution, loss of control over the creative content, and

tarnishment of its valuable trademarks and copyrights as a result of Defendants’ actions, and is thus

seeking injunctive and monetary relief.

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                                  JURISDICTION AND VENUE

        6.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Federal Copyright Act,

17 U.S.C. § 101, et seq., 28 U.S.C. § 1338(a)–(b), and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C. §

1367(a), because the state law claims are so related to the federal claims that they form part of the

same case or controversy and derive from a common nucleus of operative facts.

        7.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events giving

rise to this lawsuit, of which each Defendant stands accused, were undertaken in Illinois and within

this Judicial District.

        8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, since each Defendant

directly targets consumers in the United States, including Illinois, through the fully interactive,

commercial Internet stores operating under the Defendant Seller Aliases identified in Schedule “A.”

Each of the Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, has sold, and continues to sell counterfeit products that infringe Plaintiff’s trademarks

and/or copyrights. Each Defendant is committing tortious acts, is engaging in interstate commerce,

and has wrongfully caused substantial injury in the State of Illinois.




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                                           THE PLAINTIFF

        9.      Iron Maiden Holding, Ltd. is a company having its principal place of business in the

United Kingdom. It is associated with Iron Maiden, an English metal band formed in Leyton, East

London, in 1975, by bassist and primary songwriter Steve Harris. Iron Maiden Holding, Ltd. is in the

business of creating, developing, marketing, and licensing Iron Maiden Products, including albums,

recordings, apparel, and memorabilia.

        10.     The success of the Iron Maiden Products is due in large part to the marketing,

promotional, and distribution efforts of Iron Maiden. These efforts include advertising and promotion

through ironmaiden.com, and other retailer websites, and are conducted through internet-based

advertising, print, and other efforts both in the United States and internationally.

        11.     Iron Maiden Holdings, Ltd. is the licensor of all Iron Maiden Products available in

stores and on various e-commerce platforms, as for example, on ironmaiden.com:




                        https://ironmaiden.com/online-shop
        12.     The Iron Maiden Trademarks have been used exclusively by Iron Maiden, and have

never been abandoned. The Trademark Registrations are valid, subsisting, and in full force and effect.

The registrations of the Iron Maiden Trademarks constitute prima facie evidence of their validity and

of Iron Maiden’s exclusive right to use the Iron Maiden Trademarks pursuant to 15 U.S.C. § 1057(b).




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       13.     Iron Maiden has invested substantial time, money, and effort in building up and

developing consumer recognition, awareness, and goodwill in the Iron Maiden Products.

       14.     The success of the Iron Maiden Brand is also due to the use of high-quality materials

and processes in making the Iron Maiden Products.

       15.     Additionally, Iron Maiden owes a substantial amount of the success of the Iron Maiden

Products to its licensees, consumers, and interest that its consumers have generated.

       16.     As a result of the efforts of Iron Maiden, the quality of its Iron Maiden Products, the

promotional efforts for its products and designs, press and media coverage, and widespread marketing,

members of the public have become familiar with the Iron Maiden Products, Iron Maiden Copyrights,

and Iron Maiden Trademarks, and associate them exclusively with Iron Maiden.

       17.     Iron Maiden Holdings, Ltd. has made efforts to protect its interests in and to the Iron

Maiden Intellectual Property. Iron Maiden Holdings, Ltd. and its licensees are the only businesses

and/or individuals authorized to manufacture, import, export, advertise, offer for sale, or sell any goods

utilizing the Iron Maiden Copyrights and/or Iron Maiden Trademarks, without the express written

permission of Iron Maiden Holdings, Ltd.. Plaintiff has not licensed or authorized Defendants to use

the Iron Maiden Trademarks and Copyrights.


                                            THE DEFENDANTS

       18.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including Illinois, and within this Judicial District, through the operation

of fully interactive commercial websites and online marketplaces. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell Counterfeit Iron Maiden Products.


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                            THE DEFENDANTS’ UNLAWFUL CONDUCT

        19.     The success and widespread popularity and recognition of the Iron Maiden Brand and

Iron Maiden Products has resulted in significant counterfeiting and intentional copying. Plaintiff has

identified numerous domain names linked to fully interactive websites and marketplace listings on

platforms such as eBay, Amazon, Wish, and AliExpress, including the Defendant Internet Stores,

which are offering for sale, selling, and importing counterfeit Iron Maiden Products to consumers in

this Judicial District and throughout the United States. Internet websites like the Defendant Internet

Stores are estimated to receive tens of millions of visits per year and to generate over $135 billion in

annual online sales. According to an intellectual property rights seizures statistics report issued by

Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods seized by the U.S.

government in the fiscal year 2013 was over $1.74 billion, up from $1.26 billion in 2012. Internet

websites like the Defendant Internet Stores are also estimated to contribute to tens of thousands of lost

jobs for legitimate businesses and broader economic damages such as lost tax revenue every year.

        20.     As recently addressed in the Wall Street Journal, Fortune, and the New York Times,

and as reflected in the federal lawsuits filed against sellers offering for sale and selling infringing and/or

counterfeit products on the above mentioned digital marketplaces, an astronomical number of

counterfeit and infringing products are offered for sale and sold on these digital marketplaces at a

rampant rate. See Kathy Chu, Luxury brands get tougher with counterfeiters – and Alibaba,

MARKETWATCH (Aug. 16, 2016), http://www.marketwatch.com/story/luxury-brands-get-tough-

with-counterfeiters-2016-08-16-91031611; Gilian Wong, Alibaba Sued Over Alleged Counterfeits,

WALL STREET JOURNAL (May 17, 2015), http://www.wsj.com/articles/alibaba-sued-over-

alleged-counterfeits-1431877734; Scott Cendrowski, There’s no end in sight for Alibaba’s

counterfeit problem, FORTUNE (May 18, 2015), http://fortune.com/2015/05/18/theres-no-end- in-

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       21.     Upon information and belief, Defendants facilitate sales by designing the Internet

Stores to appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers

selling genuine Iron Maiden Products through the use of Iron Maiden Intellectual Property. Defendant

Internet Stores look sophisticated and perpetuate an illusion of legitimacy – they accept payment in

U.S. dollars via credit cards, Western Union, and PayPal; they often include images and design

elements that make it difficult for consumers to distinguish these unauthorized sites from an authorized

website; they offer “live 24/7” customer service; and, they use indicia of authenticity and security that

consumers have come to associate with authorized retailers, including the McAfee® Security,

VeriSign®, Visa®, MasterCard®, and PayPal® logos.

       22.     Upon information and belief, Defendants also deceive unknowing consumers by using

the Iron Maiden Trademarks without authorization within the content, text, and/or meta tags of their

websites, in order to attract and manipulate search engines into identifying Defendant Internet Stores

as legitimate websites for Iron Maiden Products. Defendants also employ other unauthorized search

engine optimization (“SEO”) tactics and social media spamming so that Defendant Internet Stores

show up at or near the top of relevant search results, including tactics to propel new domain names

to the top of search results after others are shut down. These tactics are meant to, and are successful

in, misdirecting consumers who are searching for genuine Iron Maiden Products.

       23.     Upon information and belief, Defendants operate in a collective and organized

manner, often monitor trademark infringement litigation alert websites, are in continuous and active

concert with oneanother, are in frequent communication with each other – utilizing online chat

platforms and groups, and use these collective efforts in an attempt to avoid liability and intellectual

property enforcement efforts. Furthermore, there is a substantial evidentiary overlap in Defendants’

behavior, conduct, and individual acts of infringement, thus constituting a collective enterprise.



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       24.     Defendants go to great lengths to conceal their identities and often use multiple fictitious

names and addresses to register and operate their massive network of Defendant Internet Stores. For

example, many of Defendants’ names and physical addresses used to register the online marketplaces

are incomplete, contain randomly typed letters, or fail to include cities or states. Other Defendants

use privacy services that conceal the owners’ identity and contact information. Upon information and

belief, Defendants regularly create new websites and online marketplace accounts on various platforms

using the Seller Aliases listed in Schedule “A” of the Complaint, as well as other unknown fictitious

names and addresses. Such registration patterns are one of many common tactics used by Defendants

to conceal their identities, the full scope and interworking of their massive infringing operation, and to

avoid being shut down.

       25.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores, including, but by no means limited to: (1) virtually

identical layouts, even though different aliases were used to register the respective domain names; (2)

similarities of the unauthorized and/or counterfeit Iron Maiden Products, and indicia of being related to

one another, suggesting that the illegal products were manufactured by and come from a common source

and that, upon information and belief, Defendants are interrelated; and, (3) other notable common

features such as use of the same domain name registration patterns, unique shopping cart platforms,

accepted payment methods, check-out methods, meta data, illegitimate SEO tactics, HTML user-

defined variables, domain redirection, lack of contact information, identically or similarly priced

items and volume sales discounts, similar hosting services, similar name servers, and the use of the

same text and images.

       26.     Further, illegal operators, like Defendants, typically operate multiple credit card

merchant accounts and third-party payment processor accounts, such as PayPal accounts, behind layers

of payment gateways so they can continue operation in spite of any enforcement efforts. Upon

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information and belief, and as PayPal transaction logs in previous similar cases have shown, Defendants

maintain off-shore bank accounts and regularly move funds from their PayPal accounts to off-shore

bank accounts outside the jurisdiction of this Court.

        27.     Defendants, without any authorization or license, have knowingly and willfully

infringed the Iron Maiden Trademarks and Copyrights in connection with the advertisement,

distribution, offering for sale, and sale of illegal, infringing, and counterfeit products. Each Defendant

offers to ship to the United States, including Illinois, and, on information and belief, each Defendant

has offered to sell, or has already sold, infringing products therein.

        28.     In committing these acts, Defendants have, among other things, willfully and in bad

faith committed the following, all of which have and, unless enjoined, will continue to cause

irreparable harm to Iron Maiden: created, manufactured, sold, and/or offered to sell counterfeit

products and/or products which infringe upon the Iron Maiden Intellectual Property; used the Iron

Maiden IP in an unauthorized manner in order to sell, advertise, describe, mislead, disceive, and trade

upon the Iron Maiden brand; engaged in unfair competition; and, unfairly and unjustly profited from

such activities at the expense of the Plaintiff.

                              COUNT I
       TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        29.     Plaintiff repleads and incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully set forth herein.

        30.     This is a trademark infringement action against Defendants, based on their

unauthorized use in commerce of counterfeit imitations of Plaintiff’s Trademarks in connection with

the sale, offering for sale, distribution, and/or advertising of infringing goods.

        31.     Without the authorization or consent of Iron Maiden, and with knowledge of Iron

Maiden’s well-known ownership rights in its Iron Maiden Trademarks, and with knowledge that


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Defendants’ Counterfeit Products bear counterfeit marks, Defendants intentionally reproduced,

copied, and/or colorably imitated the Iron Maiden Trademarks and/or used spurious designations that

are identical with, or substantially indistinguishable from, the Iron Maiden Trademarks on or in

connection with the manufacturing, import, export, advertising, marketing, promotion, distribution,

display, offering for sale, and/or sale of Counterfeit Products.

        32.     Defendants have manufactured, imported, exported, advertised, marketed, promoted,

distributed, displayed, offered for sale, and/or sold their Counterfeit Products to the purchasing public

in direct competition with Iron Maiden, in or affecting interstate commerce, and have acted with

reckless disregard of Plaintiff’s rights in and to the Iron Maiden Trademarks through their

participation in such activities.

        33.     Defendants have applied their reproductions, counterfeits, copies, and colorable

imitations of the Iron Maiden Trademarks to packaging, point-of-purchase materials, promotions,

and/or advertisements intended to be used in commerce upon, or in connection with, the

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying,

offering for sale, and/or selling of Defendants’ Counterfeit Products, which is likely to cause

confusion, mistake, and deception among the general purchasing public as to the origin of the

Counterfeit Products, and is likely to deceive consumers, the public, and the trade into believing that

the Counterfeit Products sold by Defendants originate from, are associated with, or are otherwise

authorized by Iron Maiden Holdings, Ltd., through which Defendants make substantial profits and

gains to which they are not entitled in law or equity.

        34.     Defendants’ unauthorized use of the Iron Maiden Trademarks on or in connection with

the Counterfeit Products was done with notice and full knowledge that such use was not authorized

or licensed by Iron Maiden Holdings, Ltd., and with deliberate intent to unfairly benefit from the

incalculable goodwill inherent in the Iron Maiden Trademarks.

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       35.     Defendants’ actions constitute willful counterfeiting of the Iron Maiden Trademarks

in violation of 15 U.S.C. §§ 1114(1)(a)-(b), 1116(d), and 1117(b)-(c).

       36.     Defendants’ continued intentional use of the Iron Maiden Trademarks without the

consent or authorization of Iron Maiden Holdings, Ltd., constitutes intentional infringement of Iron

Maiden Holdings, Ltd.’s federally registered Iron Maiden Trademarks in violation of §32 of the

Lanham Act, 15 U.S.C. § 1114.

       37.     As a direct and proximate result of Defendants’ illegal actions alleged herein,

Defendants have caused substantial monetary loss, irreparable injury, and damage to Iron Maiden

Holdings, Ltd., its business, its reputation, and its valuable rights in and to the Iron Maiden

Trademarks and the goodwill associated therewith, in an amount as yet unknown. Iron Maiden

Holdings, Ltd. has no adequate remedy at law for this injury, and unless immediately enjoined,

Defendants will continue to cause such substantial and irreparable injury, loss, and damage to Iron

Maiden Holdings, Ltd. and its valuable Iron Maiden Trademarks.

       38.     Based on Defendants’ actions as alleged herein, Iron Maiden Holdings, Ltd. is entitled

to injunctive relief, damages for the irreparable harm that Iron Maiden Holdings, Ltd. has sustained,

and will sustain, as a result of Defendants’ unlawful and infringing actions, as well as all gains,

profits, and advantages obtained by Defendants as a result thereof, enhanced discretionary damages,

treble damages, and/or statutory damages of up to $2,000,000 per-counterfeit mark per-type of goods

sold, offered for sale, or distributed, and reasonable attorneys’ fees and costs.

                                   COUNT II
    FALSE DESIGNATION OF ORIGIN, PASSING OFF, & UNFAIR COMPETITION
                  (15 U.S.C. § 1125(a)/LANHAM ACT § 43(a))

       39.     Plaintiff repleads and incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully set forth herein.



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        40.     Plaintiff, as the owner of all right, title, and interest in and to the Iron Maiden

Trademarks has standing to maintain an action for false designation of origin and unfair competition

under the Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

        41.     Plaintiff’s Trademarks are inherently distinctive and are registered with the United

States Patent and Trademark Office on the Principal Register; the Iron Maiden Trademarks have been

continuously used and have never been abandoned; the registrations for the Iron Maiden Trademarks

are valid, subsisting, and in full force and effect; and many are incontestable pursuant to 15 U.S.C. §

1065.

        42.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit Iron Maiden

Products has created and continues to create a likelihood of confusion, mistake, and deception among

the public as to the affiliation, connection, or association with Plaintiff or as to the origin, sponsorship,

or approval of Defendants’ infringing products by Plaintiff.

        43.     By using the Iron Maiden Trademarks in connection with the sale of unauthorized

products, Defendants create a false designation of origin and a misleading representation of fact as

to the origin and sponsorship of the unauthorized products.

        44.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the unauthorized products to the general public is a willful violation of Section

43 of the Lanham Act, 15 U.S.C. § 1125.

        45.     Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, and intended to cause confusion, to cause mistake, and to deceive

the purchasing public, with the intent to trade on the goodwill and reputation of Iron Maiden

Holdings, Ltd., its Iron Maiden Products, and Iron Maiden Trademarks.

        46.     As a direct and proximate result of Defendants’ aforementioned actions, Defendants

have caused irreparable injury to Iron Maiden Holdings, Ltd. by depriving Plaintiff of sales of its Iron

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Maiden Products and by depriving Iron Maiden Holdings, Ltd. of the value of its Iron Maiden

Trademarks as commercial assets in an amount as yet unknown.

       47.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.

                                   COUNT III
      VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                            (815 ILCS § 510, et seq.)

       48.     Plaintiff repleads and incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully set forth herein.

       49.     Defendants have engaged in acts violating Illinois law, including, but not limited to,

passing off their unauthorized products as those of Plaintiff, causing a likelihood of confusion and/or

misunderstanding as to the source of Defendants’ goods, thus causing a likelihood of confusion

and/or misunderstanding as to an affiliation, connection, or association with genuine Iron Maiden

Products, through Defendants’ representation that Defendants’ Counterfeit Products have Plaintiff’s

approval, when they do not.

       50.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq..

       51.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused Plaintiff

to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff will suffer

future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     COUNT IV
                        COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

       52.     Plaintiff repleads and incorporates by reference each and every allegation set forth in

the preceding paragraphs as if fully set forth herein.

       53.     The Iron Maiden Copyrights are the subject of multiple valid copyright registrations.

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          54.   Plaintiff, at all relevant times, has been the holder of the copyright registrations and

exclusive rights of and belonging to Iron Maiden Holdings, Ltd., including but not limited to the Iron

Maiden Copyrights and derivative works.

          55.   These copyrights have significant value and have been produced and created at

considerable expense.

          56.   The trademarked and copyrighted products include a copyright notice advising the

general public that the Iron Maiden Products are protected by the Copyright Laws of the United

States.

          57.   Upon information and belief, Defendants had access to the copyrighted work through

Plaintiff’s normal business activities. After accessing Plaintiff’s work, Defendants wrongfully

created copies of the copyrighted work without Plaintiff’s consent, and engaged in, and continue to

engage in acts of widespread infringement.

          58.   Iron Maiden Holdings, Ltd. is informed, and thereon alleges, that Defendants further

infringed Iron Maiden Copyrights by making, or causing to be made, derivative works by producing

and distributing unauthorized reproductions of the Iron Maiden Copyrights, without permission of

Iron Maiden Holdings, Ltd..

          59.   Each Defendant, without the permission or consent of the Plaintiff, has sold, and

continues to sell, online infringing derivative works of Plaintiff’s Copyrights. Each Defendant has

violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant’s actions

constitute an infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

          60.   Further, as a direct result of the Defendants’ acts of copyright infringement,

Defendants have obtained profits they would not have otherwise realized but for their infringement



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of Plaintiff’s Copyrights. Iron Maiden Holdings, Ltd. is entitled to disgorgement of Defendants’

profits, directly and indirectly, attributable to said infringement.

       61.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under U.S.

Copyright Law, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504.

       62.     The conduct of each Defendant is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated

or measured monetarily. Plaintiff has no adequate remedy at law. As such, pursuant to 17 U.S.C.

§§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further

infringing Plaintiff’s Copyrights, and ordering that each Defendant destroy all unauthorized and/or

infringing copies and reproductions of Plaintiff’s copyrighted works. Defendants’ copies, plates, and

other embodiments of the copyrighted work from which copies can be reproduced should be

impounded and forfeited to Iron Maiden Holdings, Ltd. as instruments of infringement, under 17

U.S.C §503.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them be

temporarily, preliminarily, and permanently enjoined and restrained from:

          a. using the Iron Maiden Trademarks or any reproductions, copies, or colorable imitations

              thereof, in any manner in connection with the distribution, marketing, advertising,

              offering for sale, or sale of any product that is not an authorized Iron Maiden Product,

              or is not authorized by Plaintiff to be sold in connection with the Iron Maiden

              Trademarks or Iron Maiden Copyrights;



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          b. passing off, inducing, or enabling others to sell or pass off any product not produced

             under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

             for sale under the Iron Maiden Trademarks or Iron Maiden Copyrights;

          c. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

             distributing, returning, or otherwise disposing of, in any manner, products or inventory

             not authorized by Plaintiff to be sold or offered for sale, and which bear the Iron

             Maiden Trademarks, or which are derived from the Iron Maiden Copyrights;

          d. further infringing the Iron Maiden Trademarks and damaging Plaintiff’s goodwill;

          e. using, linking to, transferring, selling, exercising control over, or otherwise owning the

             the Defendant Internet Stores, Defendant product listings, or any other domain name

             or online marketplace account that is being used to sell products or inventory not

             authorized by Plaintiff which bear the Iron Maiden Trademarks or which are derived

             from Plaintiff’s Iron Maiden Copyrights;

          f. operating and/or hosting the Defendant Internet Stores, and any other domain names

             registered to or operated by Defendants that are involved with the distribution,

             marketing, advertising, offering for sale, or sale of products or inventory not authorized

             by Plaintiff which bear the Iron Maiden Trademarks, or which are derived from

             Plaintiff’s Iron Maiden Copyrights;

       2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and those

with notice of the injunction, including any online marketplaces and payment processors, such as

eBay, Amazon, Wish, iOffer, and Alibaba Group Holding Ltd., Alipay.com Co., Ltd., and any related

Alibaba entities (collectively, “Alibaba”), social media platforms, Facebook, YouTube, LinkedIn,




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Twitter, Internet search engines such as Google, Bing, and Yahoo, web hosts for the Defendant

Internet Stores, and domain name registrars, shall:

     a. disable and cease providing services for any accounts through which Defendants engage in

         the sale of products unauthorized by Plaintiff bearing the Iron Maiden Trademarks,

         including any accounts associated with the Defendants listed on Schedule “A”;

     b. disable and cease displaying any advertisements used by or associated with Defendants in

         connection with the sale of products not authorized by Plaintiff which bear the Iron Maiden

         Trademarks, or which are derived from Plaintiff’s Iron Maiden Copyrights; and,

     c. take all steps necessary to prevent links to the Defendant Internet Stores identified on

         Schedule “A” from displaying in search results, including, but not limited to, removing

         links to the Defendant Internet Stores from any search index.

       3) That Defendants account for, and pay to, Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged;

       4) For Judgment in favor of Plaintiff against Defendants that they have willfully infringed

Plaintiff’s rights in its federally registered Trademarks, pursuant to 15 U.S.C. § 1114;

       5) That Plaintiff be awarded actual damages, statutory damages, and/or other available

damages, at the election of Plaintiff; and that the amount of damages for infringement are increased

by a sum not to exceed three times the amount thereof as provided by 15 U.S.C. § 1117;

       6) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully infringed

Plaintiff’s rights in its federally registered copyrights pursuant to 17 U.S.C. §501; and, b) otherwise

injured the business reputation and business of Plaintiff by Defendants’ acts and conduct set forth in

this Complaint;




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       7) That Plaintiff be awarded actual damages, statutory damages, and/or other available

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff;

       8) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and,

       9) Any and all other relief that this Court deems just and proper.


       DATED: September 4, 2020                             Respectfully submitted,

                                                            /s/ Ann Marie Sullivan
                                                            Ann Marie Sullivan
                                                            Alison Carter
                                                            AM Sullivan Law, LLC
                                                            1440 W. Taylor St., Suite 515
                                                            Chicago, Illinois 60607
                                                            Telephone: 224-258-9378
                                                            E-mail: ams@amsullivanlaw.com

                                                            ATTORNEYS FOR PLAINTIFF




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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,

      PLAINTIFF,
                                                  CASE NO.: 1:20-CV-05251
V.

THE PARTNERSHIPS AND UNINCORPORATED
                                                  FILED UNDER SEAL
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

      DEFENDANTS.



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                        ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
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                                           v.
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                        ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                           TRADEMARK REGISTRATION




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                               IRON MAIDEN HOLDINGS, LTD.
                                           v.
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                        ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
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                               IRON MAIDEN HOLDINGS, LTD.
                                           v.
                         THE PARTNERSHIPS AND UNINCORPORATED
                        ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
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                        ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                           TRADEMARK REGISTRATION




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                        ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 1                                                           TRADEMARK REGISTRATION




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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,

      PLAINTIFF,
                                                  CASE NO.: 1:20-CV-05251
V.

THE PARTNERSHIPS AND UNINCORPORATED
                                                  FILED UNDER SEAL
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

      DEFENDANTS.



                          EXHIBIT 2 TO THE COMPLAINT
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                                    IRON MAIDEN HOLDINGS, LTD.
                                                 v.
                               THE PARTNERSHIPS AND UNINCORPORATED
                              ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 2                                                                  COPYRIGHT REGISTRATION

                                                                            COPYRIGHT
     NAME                              FULL TITLE                                          DATE
                                                                             NUMBER
Iron Maiden      2 AM / Bayley, Gers, Harris.                              PA0000828722    1995
Iron Maiden.     2 minutes to midnight / Smith, Dickinson.                 PA0000230074    1984
Iron Maiden      22 Acacia Avenue / Harris, Smith.                         PA0000176210    1982
Iron Maiden.     Aces high / Harris.                                       PA0000230075    1984
Iron Maiden      Afraid to shoot strangers.                                PA0000901471    1992
Iron Maiden      Aftermath / Bayley, Gers, Harris.                         PA0000828718    1995
Iron Maiden      Alexander the Great / Harris.                             PA0000310340    1986
Iron Maiden.     Angel and the gambler / Harris.                           PA0000910657    1998
Iron Maiden      Another life.                                             PA0000101596    1981
Iron Maiden      Apparition.                                               PA0000901472    1992
Iron Maiden      Assassin.                                                 PA0000580585    1990
Iron Maiden.     Back in the village / Smith, Dickinson.                   PA0000230079    1984
Iron Maiden      Be quick of be dead / directors, Wing Ko & E. Matthies.   PA0000565978    1992
Iron Maiden      Be quick or be dead.                                      PA0000901473    1992
Iron Maiden      Best of the beast / Iron Maiden.                          SR0000181471    1996
Iron Maiden      Black Bart blues / Harris, Dickinson.                     PA0000374086    1988
Iron Maiden      Blood brothers.                                           PA0001012702    2000
Iron Maiden      Blood on the world's hands / Harris.                      PA0000828720    1995
Iron Maiden      Brave new world.                                          PA0001012703    2000
Iron Maiden      Brighter than a thousand suns.                            PA0001166089    2006
Iron Maiden      Burning ambition.                                         PA0001030827    1990
Iron Maiden      Can I play with madness? / Smith, Dickinson, Harris.      PA0000374085    1988
Iron Maiden      Caught somewhere in time / Harris.                        PA0000310346    1986
Iron Maiden      Chains of misery.                                         PA0000901474    1992
Iron Maiden      Charlotte the harlot / Dave Murray.                       PA0000089965    1980
Iron Maiden      Childhood's end.                                          PA0000901475    1992
Iron Maiden      Clairvoyant / Harris.                                     PA0000372465    1988
Iron Maiden.     Clansman / Harris.                                        PA0000910659    1998
Iron Maiden.     Como estais amigos / Gers, Bayley.                        PA0000910663    1998
Iron Maiden      Deja-vu / Murray, Harris.                                 PA0000310341    1986
Iron Maiden      Die with your boots on / Smith, Dickinson, Harris.        PA0000180440    1983
Iron Maiden      Different world.                                          PA0001166085    2006
Iron Maiden.     Don't look to the eyes of a stranger / Harris.            PA0000910662    1998
Iron Maiden      Dream of mirrors.                                         PA0001012700    2000
Iron Maiden      Drifter.                                                  PA0000101602    1981
Iron Maiden.     Duellists / Harris.                                       PA0000230078    1984

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                              ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 2                                                               COPYRIGHT REGISTRATION

                                                                         COPYRIGHT
     NAME                               FULL TITLE                                      DATE
                                                                          NUMBER
Iron Maiden      Edge of darkness / Bayley, Gers, Harris.               PA0000828721    1995
Iron Maiden.     Educated fool / Harris.                                PA0000910661    1998
Iron Maiden      Evil that men do / Smith, Dickinson, Harris.           PA0000372462    1988
Iron Maiden      Face in the sand ; Journeyman.                         PA0001206553    2003
Iron Maiden      Fallen angel.                                          PA0001012699    2000
Iron Maiden      Fates warning.                                         PA0000580584    1990
Iron Maiden      Fear is the key.                                       PA0000901476    1992
Iron Maiden      Fear of the dark.                                      PA0000901470    1992
Iron Maiden      Fear of the dark / Iron Maiden.                        SR0000144051    1992
Iron Maiden.     Flash of the blade / Dickinson.                        PA0000230077    1984
Iron Maiden      Flight of Icarus / Smith, Dickinson.                   PA0000180464    1983
Iron Maiden      For the greater good of God.                           PA0001166094    2006
Iron Maiden      Fortunes of war / Harris.                              PA0000828716    1995
Iron Maiden      From here to eternity.                                 PA0000901477    1992
Iron Maiden      From there to eternity.                                PA0000581092    1992
Iron Maiden      Fugitive.                                              PA0000901478    1992
Iron Maiden.     Futureal / Harris, Bayley.                             PA0000910656    1998
Iron Maiden      Gates of tomorrow ; Montsegur.                         PA0001206554    2003
Iron Maiden      Genghis Kahn.                                          PA0000101597    1981
Iron Maiden      Ghost of the navigator.                                PA0001012704    2000
Iron Maiden      Heaven can wait.                                       PA0000976565    1986
Iron Maiden      Heaven can wait / Harris.                              PA0000310344    1986
Iron Maiden      Holy smoke.                                            PA0000580581    1990
Iron Maiden      Hooks in you.                                          PA0000580587    1990
Iron Maiden      Ides of March.                                         PA0000101593    1981
Iron Maiden      Infinite dreams / Harris.                              PA0000372461    1988
Iron Maiden      Innocent exile.                                        PA0000101598    1981
Iron Maiden      Intro.                                                 PA0001203861    2002
Iron Maiden.     Iron Maiden.                                           SR0000020477    1980
Iron Maiden      Iron Maiden / Steve Harris.                            PA0000089966    1980
Iron Maiden      Judas, be my guide.                                    PA0000901479    1992
Iron Maiden      Judgement of heaven / Harris.                          PA0000828719    1995
Iron Maiden      Killers.                                               PA0000101599    1981
Iron Maiden      Killers / Iron Maiden.                                 SR0000181472    1981
Iron Maiden      Legacy.                                                PA0001166096    2006
Iron Maiden.     Lightning strikes twice / Murray, Harris.              PA0000910658    1998

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     NAME                              FULL TITLE                                        DATE
                                                                           NUMBER
Iron Maiden      Listen with Nicko! : pt. 1.                             PA0001030828    1990
Iron Maiden      Live after death / [performed by] Iron Maiden.          SR0000081960    1985
Iron Maiden      Live at Donington / Iron Maiden.                        SR0000181470    1993
Iron Maiden      Loneliness of the long distance runner / Harris.        PA0000310343    1986
Iron Maiden      Longest day.                                            PA0001166091    2006
Iron Maiden      Look for the truth / Bayley, Gers, Harris.              PA0000828717    1995
Iron Maiden      Lord of light.                                          PA0001166095    2006
Iron Maiden      Lord of the flies / Harris, Gers.                       PA0000828714    1995
Iron Maiden.     Losfer words : Big 'Orra / Harris.                      PA0000230076    1984
Iron Maiden      Maiden Japan / [performed by] Iron Maiden.              SR0000056906    1984
Iron Maiden      Maiden Japan / [performed by] Iron Maiden.              SR0000031909    1981
Iron Maiden      Man on the edge / Bayley, Gers.                         PA0000828715    1995
Iron Maiden      Mercenary.                                              PA0001012701    2000
Iron Maiden.     Mission from 'Arry / Harris, McBrain.                   PA0000230073    1984
Iron Maiden      Moonchild / Smith, Dickinson.                           PA0000372460    1988
Iron Maiden      Mother Russia.                                          PA0000580588    1990
Iron Maiden      Murders in the Rue Morgue.                              PA0000101595    1981
Iron Maiden      New frontier.                                           PA0001206555    2003
Iron Maiden      No prayer for the dying.                                PA0000580582    1990
Iron Maiden      No prayer for the dying / [performed by] Iron Maiden.   SR0000124044    1990
Iron Maiden      Nodding donkey blues.                                   PA0000917186    1992
Iron Maiden      Nomad.                                                  PA0001012698    2000
Iron Maiden      Number of the beast / [performed by] Iron Maiden.       SR0000043264    1982
Iron Maiden      Only the good die young / Harris, Dickinson.            PA0000372466    1988
Iron Maiden      Out of the shadows.                                     PA0001166092    2006
Iron Maiden      Out of the silent planet.                               PA0001012697    2000
Iron Maiden      Phantom of the opera / Steve Harris.                    PA0000089961    1980
Iron Maiden      Piece of mind / [performed by Iron Maiden].             SR0000046851    1983
Iron Maiden.     Piece of mind / [performed by] Iron Maiden.             SR0000050866    1983
Iron Maiden      Pilgrim.                                                PA0001166090    2006
Iron Maiden.     Powerslave / Dickinson.                                 PA0000230080    1984
Iron Maiden      Powerslave / [performed by] Iron Maiden.                SR0000058463    1984
Iron Maiden      Prodigal son.                                           PA0000101600    1981
Iron Maiden      Prophecy / Murray, Harris.                              PA0000372464    1988
Iron Maiden      Prowler / Steve Harris.                                 PA0000089958    1980
Iron Maiden      Public enema number one.                                PA0000580583    1990

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     NAME                               FULL TITLE                                        DATE
                                                                            NUMBER
Iron Maiden      Purgatory.                                               PA0000101601    1981
Iron Maiden      Quest for fire / Harris.                                 PA0000180443    1983
Iron Maiden      Rainbow's gold / Slesser, Mountain.                      PA0000241425    1984
Iron Maiden      Rainmaker.                                               PA0001206552    2003
Iron Maiden      Reach out / Colwell.                                     PA0000457173    1986
Iron Maiden      Real dead one / Iron Maiden.                             SR0000190942    1993
Iron Maiden      Real live one / Iron Maiden.                             SR0000181346    1993
Iron Maiden      Reincarnation of Benjamin Breeg.                         PA0001166093    2006
Iron Maiden      Remember tomorrow / S. Harris, P. DiAnno.                PA0000089959    1980
Iron Maiden      Revelations / Dickinson.                                 PA0000180439    1983
                 Rhythm of the beast / a Nicko McBrain Enterprises &
Iron Maiden      Brainwalk, Ltd. production ; produced by Graham Walker   PA0000746877    1991
                 & Nicko McBrain ; edited & directed by Andy Matthews.
Iron Maiden.     Rime of the Ancient Mariner / Harris.                    PA0000230081    1984
Iron Maiden      Run silent, run deep.                                    PA0000580586    1990
Iron Maiden      Running free / S. Harris, P. DiAnno.                     PA0000089960    1980
Iron Maiden      Sanctuary / Iron Maidne [sic]                            PA0000089964    1980
Iron Maiden      Sea of madness / Smith.                                  PA0000310345    1986
Iron Maiden      Seventh son of a seventh son / Harris.                   PA0000372463    1988
                 Seventh son of a seventh son / [performed by] Iron
Iron Maiden                                                               SR0000097580    1988
                 Maiden.
Iron Maiden      Sheriff of Huddersfield / Iron Maiden.                   PA0000310253    1986
Iron Maiden      Sign of the cross / Harris.                              PA0000828713    1995
Iron Maiden      Somewhere in time / [performed by] Iron Maiden.          SR0000081961    1986
Iron Maiden      Still life / Murray, Harris.                             PA0000180442    1983
Iron Maiden      Strange world / Steve Harris.                            PA0000089963    1980
Iron Maiden      Stranger in a strange land / Smith.                      PA0000310342    1986
Iron Maiden      Sun and steel / Dickinson, Smith.                        PA0000180444    1983
Iron Maiden      Tailgunner.                                              PA0000580580    1990
Iron Maiden      These colours don't run.                                 PA0001166087    2006
Iron Maiden      Thin line between love and hate.                         PA0001012696    2000
Iron Maiden      To tame a land / Harris.                                 PA0000180445    1983
Iron Maiden      Total eclipse.                                           PA0000940317    1982
Iron Maiden      Transylvania / Steve Harris.                             PA0000089962    1980
Iron Maiden      Trooper / Harris.                                        PA0000180441    1983
Iron Maiden      Twilight zone / Murray, Harris.                          PA0000098710    1981
Iron Maiden      Unbeliever / Gers, Harris.                               PA0000828723    1995
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                                                v.
                              THE PARTNERSHIPS AND UNINCORPORATED
                             ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
EXHIBIT 2                                                                COPYRIGHT REGISTRATION

                                                                          COPYRIGHT
     NAME                              FULL TITLE                                        DATE
                                                                           NUMBER
Iron Maiden.                 Video pieces.                               PA0000229604    1984
Iron Maiden                  Virtual XI / Iron Maiden.                   SR0000298624    1998
Iron Maiden                  Virus.                                      PA0000923089    1996
Iron Maiden                  Wasted years / Smith.                       PA0000310252    1986
Iron Maiden                  Wasting love.                               PA0000901480    1992
Iron Maiden                  Wasting love / director, Samuel Bayer.      PA0000576859    1992
Iron Maiden                  Weekend warrior.                            PA0000901481    1992
                             When two worlds collide / Murray, Bayley,
Iron Maiden.                                                             PA0000910660    1998
                             Harris.
Iron Maiden                  Where eagles dare / Harris.                 PA0000180438    1983
Iron Maiden                  Wicker man.                                 PA0001012705    2000
Iron Maiden                  Women in uniform / Macainish.               PA0000818973    1980
Iron Maiden                  Wrathchild.                                 PA0000101594    1981
Iron Maiden.                 X factor / Iron Maiden.                     SR0000298649    1995
Iron Maiden                  X factor / Iron Maiden.                     SR0000181341    1995
Iron Maiden Holdings
                             Killers Eddie.                              VA0001910671    1981
Limited
Iron Maiden Holdings
                             Number of the Beast Eddie.                  VA0001907596    1982
Limited
Iron Maiden Holdings
                             Trooper Eddie.                              VA0001909133    1983
Limited
Iron Maiden Holdings, Ltd.   Age of innocence.                           PA0001159998    2003
Iron Maiden Holdings, Ltd.   Dance of death.                             PA0001159993    2003
Iron Maiden Holdings, Ltd.   Face in the sand.                           PA0001159997    2003
Iron Maiden Holdings, Ltd.   Gates of tomorrow.                          PA0001159995    2003
Iron Maiden Holdings, Ltd.   Journeyman.                                 PA0001159999    2003
Iron Maiden Holdings, Ltd.   Montsegur.                                  PA0001159992    2003
Iron Maiden Holdings, Ltd.   New frontier.                               PA0001159994    2003
Iron Maiden Holdings, Ltd.   No more lies.                               PA0001159991    2003
Iron Maiden Holdings, Ltd.   No prayer for the dying & 6 other titles.    V3427D527      1999
Iron Maiden Holdings, Ltd.   Paschendale.                                PA0001159996    2003
                             Prowler & 267 other titles; musical
Iron Maiden Holdings, Ltd.                                                 V3429D963     1999
                             compositions & master recordings.
                             Prowler & 267 other titles; musical
Iron Maiden Holdings, Ltd.                                                 V3429D965     1999
                             compositions & master recordings.
Iron Maiden Holdings, Ltd.   Rainmaker.                                  PA0001159990    2003
Iron Maiden Holdings, Ltd.   Trooper (live)                              PA0001165572    2006
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EXHIBIT 2                                                                   COPYRIGHT REGISTRATION

                                                                             COPYRIGHT
     NAME                               FULL TITLE                                          DATE
                                                                              NUMBER
Iron Maiden Holdings, Ltd.   Wasted years.                                  PA0001164513    2006
Iron Maiden Holdings, Ltd.   Wildest dreams.                                PA0001159989    2003
Iron Maiden Publishing
                             1000 points of light.                          PA0000849103    1994
(Overseas), Ltd.
Iron Maiden Publishing
                             Back from the edge.                            PA0000820922    1996
(Overseas) Ltd.
Iron Maiden Publishing
                             Ballad of Mutt.                                PA0000587468    1990
(Overseas) Ltd.
Iron Maiden Publishing
                             BOOK OF SOULS.                                 PA0001990501    2015
Overseas Ltd.
Iron Maiden Publishing
                             Born in '58.                                   PA0000590359    1990
(Overseas) Ltd.
                             Bring your daughter to the slaughter / w & m
Iron Maiden Publishing
                             Paul Bruce Dickinson (Bruce Dickinson,         PA0000580522    1989
(Overseas) Ltd.
                             pseud.)
Iron Maiden Publishing
                             Change of heart.                               PA0000849105    1994
(Overseas), Ltd.
Iron Maiden Publishing
                             Cyclops.                                       PA0000849100    1994
(Overseas), Ltd.
Iron Maiden Publishing
                             DEATH OR GLORY.                                PA0001990496    2015
Overseas Ltd.
Iron Maiden Publishing
                             Dive! dive! dive!                              PA0000590362    1990
(Overseas) Ltd.
Iron Maiden Publishing
                             Dreamstate.                                    PA0000820926    1996
(Overseas) Ltd.
Iron Maiden Publishing
                             EMPIRE OF THE CLOUDS.                          PA0001990494    2015
Overseas Ltd.
Iron Maiden Publishing
                             Faith.                                         PA0000820924    1996
(Overseas) Ltd.
Iron Maiden Publishing
                             Fire.                                          PA0000849107    1994
(Overseas), Ltd.
Iron Maiden Publishing
                             Gods of war.                                   PA0000849102    1994
(Overseas), Ltd.
Iron Maiden Publishing
                             GREAT UNKNOWN.                                 PA0001990497    2015
Overseas Ltd.
Iron Maiden Publishing
                             Gypsy road.                                    PA0000590361    1990
(Overseas) Ltd.

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                                                                         COPYRIGHT
     NAME                              FULL TITLE                                       DATE
                                                                          NUMBER
Iron Maiden Publishing
                            Headswitch.                                PA0000820929     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            Hell no.                                   PA0000849101     1994
(Overseas), Ltd.
Iron Maiden Publishing
                            Hell on wheels.                            PA0000590360     1990
(Overseas) Ltd.
Iron Maiden Publishing
                            I will not accept.                         PA0000820927     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            IF ETERNITY SHOULD FAIL.                   PA0001990493     2015
Overseas Ltd.
Iron Maiden Publishing
                            Inertia.                                   PA0000820923     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            Innerspace.                                PA0000820932     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            Inside the machine.                        PA0000820928     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            Laughing in the hiding bush.               PA0000849104     1994
(Overseas), Ltd.
Iron Maiden Publishing
                            Lickin' the gun.                           PA0000590363     1990
(Overseas) Ltd.
Iron Maiden Publishing
                            MAN OF SORROWS.                            PA0001990504     2015
Overseas Ltd.
Iron Maiden Publishing
                            Meltdown.                                  PA0000820930     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            No lies.                                   PA0000590365     1990
(Overseas) Ltd.
Iron Maiden Publishing
                            Octavia.                                   PA0000820931     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            RED AND THE BLACK.                         PA0001990498     2015
Overseas Ltd.
Iron Maiden Publishing
                            Sacred cowboys.                            PA0000849108     1994
(Overseas), Ltd.
Iron Maiden Publishing
                            SHADOWS OF THE VALLEY.                     PA0001990502     2015
Overseas Ltd.
Iron Maiden Publishing
                            Shoot all the clowns.                      PA0000849106     1994
(Overseas), Ltd.

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EXHIBIT 2                                                              COPYRIGHT REGISTRATION

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     NAME                             FULL TITLE                                        DATE
                                                                          NUMBER
Iron Maiden Publishing
                            Solar confinement.                         PA0000820925     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            Son of a gun.                              PA0000590358     1990
(Overseas) Ltd.
Iron Maiden Publishing
                            Space race.                                PA0000820921     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            SPEED OF LIGHT.                            PA0001990492     2015
Overseas Ltd.
Iron Maiden Publishing
                            Strange death in paradise.                 PA0000820933     1996
(Overseas) Ltd.
Iron Maiden Publishing
                            Tattooed millionaire.                      PA0000587469     1990
(Overseas) Ltd.
Iron Maiden Publishing
                            TEARS OF A CLOWN.                          PA0001990503     2015
Overseas Ltd.
Iron Maiden Publishing
                            Tears of the dragon.                       PA0000849109     1994
(Overseas), Ltd.
Iron Maiden Publishing
                            Trooper. By Steve Harris.                  PA0000710146     1983
(Overseas) Ltd.
Iron Maiden Publishing
                            WHEN THE RIVER RUNS DEEP.                  PA0001990499     2015
Overseas Ltd.
Iron Maiden Publishing
                            Where eagles dare. By Steven Harris.       PA0000710145     1983
(Overseas) Ltd.
Iron Maiden Publishing
                            Zulu Lulu.                                 PA0000590364     1990
(Overseas) Ltd.




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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


 IRON MAIDEN HOLDINGS, LTD.,

          PLAINTIFF,
                                                         CASE NO. 1:20-CV-05251
 V.

 THE PARTNERSHIPS AND UNINCORPORATED
                                                         FILED UNDER SEAL
 ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

          DEFENDANTS.



                           AMENDED SCHEDULE A TO COMPLAINT
NO.         DEFENDANT / SELLER ALIAS                             MARKETPLACE URL
 1            UP TO 60% OFF Store                         https://www.aliexpress.com/store/4977056

 2                 hiowuginlkn                      https://www.amazon.com/sp?seller=A1CJZYE4H2ZY0I

 3                     huang jin.                   https://www.amazon.com/sp?seller=AI7OROG8IWMHA

 4                      JackRdd                     https://www.amazon.com/sp?seller=A3T16Z1LFABAYX

 5                yamakadoshop                          https://www.etsy.com/uk/shop/yamakadoshop

 6                Fashion Trade                       https://www.vova.com/merchant-pdkg89jr3kzc8elt/

 7                 kdfghkdrthj                  https://www.amazon.com/sp?seller=A1XCO414DUV5OE

 8                      Lilyland                    https://www.amazon.com/sp?seller=A37KX123P9DVYK

 9                      teegogo                     https://www.amazon.com/sp?seller=AYWVSSSZVM543

10                     FUNSHINE                      https://www.vova.com/merchant-dyxu9fwdsg7w4rnk/

11                2015_megastore                         https://www.ebay.com/usr/2015_megastore

12                     alesinde-0                        https://www.etsy.com/shop/CookieCutters4U

13                     alex528ru                            https://www.ebay.com/usr/alex528ru

14                 doneboutique                            https://www.ebay.com/usr/doneboutique

15                     giang_9187                          https://www.ebay.com/usr/giang_9187

16              SOUTHFEATHER                         https://www.vova.com/merchant-8apxhcdaiwbmrs5y/



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NO.         DEFENDANT / SELLER ALIAS                            MARKETPLACE URL
17                  gt2767                                   https://www.ebay.com/usr/gt2767

18                  khoihu_0                          https://www.etsy.com/shop/YeoysScienceTees

19               kingalonestore88                           https://www.etsy.com/shop/Ironyltd

20                   kle2592                                https://www.ebay.com/usr/kle2592

21                   lu_9466                          https://www.etsy.com/shop/DolceCakeToppers

22                 luxuryprint                            https://www.ebay.com/usr/luxuryprint

23                   phaha-4                            https://www.etsy.com/shop/BuyCoolShirts

24                satyadimar_id                         https://www.etsy.com/shop/MarkLewisArt

25                 sindukadafi                               https://mayutrade.en.alibaba.com/

26                 sunstore_899                          https://www.ebay.com/usr/sunstore_899

27             super_decals_stickers                  https://www.ebay.com/usr/super_decals_stickers

28                 zdanov-bp-1                            https://www.ebay.com/usr/zdanov-bp-1

29               GiftsDesignShop                     https://www.etsy.com/shop/UnicorniaCrossStitch

30                lotusdardware                          https://www.etsy.com/shop/lotusdardware

31               OrkoJewelryInc                       https://www.etsy.com/shop/OpenRoadArtShop

32                  SuperDec                           https://www.etsy.com/shop/VintagedVintages

33              TinkerBellShopArt                      https://www.etsy.com/shop/FramedArtSource

34                  Tplaytown                          https://www.etsy.com/shop/CowAndCalfArt

35               WoodenAngelArt                           https://www.etsy.com/shop/FanaToonic

36               The Garden Net                     https://www.vova.com/merchant-8j8c96gqde48924j/

37                   XINKE                          https://www.vova.com/merchant-wvncn3p1hy8iu0ln/

38              blackswhite_store                      https://www.ebay.com/usr/blackswhite_store

39                 bluehomefar                            https://www.ebay.com/usr/bluehomefar

40                 chaucaop47                             https://www.ebay.com/usr/chaucaop47

41                goodkitchen4u                          https://www.ebay.com/usr/goodkitchen4u

42                  huntefirs-0                            https://www.ebay.com/usr/huntefirs-0

43                  jaidee006                              https://www.ebay.com/usr/jaidee006

44                  khamou21                               https://www.ebay.com/usr/khamou21

45                kitchen-trend                          https://www.ebay.com/usr/kitchen-trend



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46                 lukepla16                                  https://www.ebay.com/usr/lukepla16

47                metal_garage                              https://www.ebay.com/usr/metal_garage

48                new-tshirt1102                            http://www.ebay.com/usr/new-tshirt1102

49                 nguho-1866                                http://www.ebay.com/usr/nguho-1866

50                  nguhuu59                                  http://www.ebay.com/usr/nguhuu59

51                   nguna_0                                   http://www.ebay.com/usr/nguna_0

52                   nvgstore                                  http://www.ebay.com/usr/nvgstore

53                only-love-store                           http://www.ebay.com/usr/only-love-store

54                  qudoan-0                                   http://www.ebay.com/usr/qudoan-0

55                  silverlilia                                http://www.ebay.com/usr/silverlilia

56                  thanhn_5                                   http://www.ebay.com/usr/thanhn_5

57                  tmgaucon                                  http://www.ebay.com/usr/tmgaucon

58                   tru-9394                                  http://www.ebay.com/usr/tru-9394

59                 truststore68                              http://www.ebay.com/usr/truststore68

60                   vu3123                                     http://www.ebay.com/usr/vu3123

61              Jill AK Hambrick                    https://www.amazon.com/sp?seller=A16Q70IEKU9508

62                 LONPENE                       https://www.amazon.com/sp?seller=A18XTUZWLBAJVD

63                 TINGISME                      https://www.amazon.com/sp?seller=A2AAB2STRH9ELL

64             ALES1GEN NESSS                    https://www.amazon.com/sp?seller=A2AR8DBPWZULJN

65                QmyhHohegtx                    https://www.amazon.com/sp?seller=A2WDHJW7XCCA6V

66                  Estivation                      https://www.amazon.com/sp?seller=A32JSOPRUY8KF2

67             zhuangshizhuangxiu                   https://www.amazon.com/sp?seller=A33P3HO4VSPNQJ

68                    Lzxlxr                     https://www.amazon.com/sp?seller=A3OU3JDTWLBONE

69                  sun fafgh                    https://www.amazon.com/sp?seller=ADZURCO5HFQVV

70                GOPOSTORE                 https://gopostore.com/product/love-music-face-mask-sydt1008004fma/
                                             https://www.colorfinal.com/collections/vests/products/axe-primitive-
71               COLORFINAL                                         tribal-skull-print-vest
                                            https://201express.com/collections/iron-maiden/products/iron-maiden-
72                201EXPRESS                                  reusable-mask-with-pm2-5-filter-4
73                89ARTSHIRT                                  https://89artshirt.com/collection/f016

74             AESTHETIC SHOP                       https://theaesthicstore.com/product-category/iron-maiden/



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75                BEATTEE                                              https://beattee.com
                                                           https://cowstee.com/bgi0ltv-camp-
76                 COWSTEE                    ironmaiden?prop%5Bcolor%5D=white&product=86&side=front
77               Fashion For Life                                  https://fashionforlife.store

78                 Metalnskull                 https://metalnskull.com/product/iron-number-of-the-beast-shirt/

79               NEW VERSION                            https://www.nunupoo.com/iroda?checkout=cart
                                           https://www.ohorola.com/products/limited-edition-irmd-filter-activated-
80                 OHOROLA                       carbon-pm-2-5-fm-hhh020412th?variant=1000002476011782
                                            https://www.prints4u.net/product-category/music-posters/iron-maiden-
81                 PRINTS4U                                               posters/
82                  PYLWM                                https://www.pylwm.com/products/im0515208

83              ROYAL JACKET                                         https://royaljacket.com

84             SNOOPY FACTORY                    https://www.snoopyfactory.shop/products/8hn-aa345qu-inf

85                 TEECOOL                                            https://teecooll.com

86                     irm                                    https://www.teefabee.com/stores/irm

87                TEESWORLD                                           https://teesworld.us/

88           THE AESTHIC STORE                        https://theaesthicstore.com/product-category/ir-2020/
                                                     https://thelistshirt66.com/1ron-fuckcorona?s=hanes-
89              THELISTSHIRT66                                     5250&c=Black&p=FRONT
                                           https://www.twievivu.com/minIronMaiden?retailProductCode=0623D3D
90                 TWIEVIVU                            3A3A4A2-1B840525ECE2-PS2-TC2000-WHT
91                  WIPEBET                    https://www.wipebet.com/products/iron-maiden-irm06032004n

92             UNICUS ORIGINAL                         https://unicusoriginal.com/collections/iron-maiden

93                VIRALSTYLE                                    https://viralstyle.com/c/OK8B4e

94                VREX STORE                                   https://www.vrexstore.com/kirmt

95                SUHSHIELD                         https://www.suhushieldus.com/search?q=Iron%20maiden

96                  SORI POP                                       https://www.sori-pop.com

97                  BAEELLY                                https://www.baeelly.com/products/mt434

98               ELIPTEE.COM                                 https://www.eliptee.com/mask-2004-1
                                                      https://moteefe.com/store/iron-maiden-st/34933841-
99                 MOTEEFE                              maiden211?color=black&product=men-s-t-shirt
100             FULL FILL GIFT                          https://fulfillgift.com/product/Iron-Maiden-MA/




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